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                              UNITED STATES DISTRICT COURT

                              WESTERN DISTRICT OF LOUISIANA

                                      LAFAYETTE DIFISION

 JOHN THIBODEAUX, AMY THIBODEAUX,                              *      CIVIL ACTION
 GABRIELLE THIBODEAUX, AND EMILY
 THIBODEAUX                                                    *      NO. 18-501

 PLAINTIFFS                                                    *      UNASSIGNED DISTRICT
                                                                      JUDGE
 VERSUS                                                        *
                                                                      MAGISTRATE JUDGE
 J.M. DRILLING, LLC, ADMIRAL INSURANCE                         *      CAROL B. WHITEHURST
 COMPANY, ROCKHILL INSURANCE COMPANY,
 AND BELLSOUTH TELECOMMUNICATIONS, LLC                         *

 DEFENDANTS                                      *
 ******************************************************************************

               ADMIRAL INSURANCE COMPANY’S MOTION TO DISMISS
                     PURSUANT TO RULE 12(b)(1) AND 12(b)(6)

        NOW INTO COURT, through undersigned counsel, comes Admiral Insurance

 Company (“Admiral”), pursuant to Fed. R. Civ. Proc. 12(b)(1) and 12(b)(6), and respectfully

 moves that it be dismissed from this declaratory judgment action on the grounds that there exists

 no case or controversy sufficient to justify the exercise of this Court’s subject matter jurisdiction

 over Admiral and that plaintiffs’ Complaint for Declaratory Judgment fails to state a claim for

 relief against Admiral in this matter.




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                                                Respectfully submitted,


                                                s/ Michael J. Vondenstein
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                                                Attorney for ADMIRAL INSURANCE
                                                COMPANY

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 26, 2018, I electronically filed the foregoing with

 the Clerk of Court by using the CM/ECF system, which will send a copy of same, along with a

 Notice of Electronic Filing, to all counsel for record.


                                                           s/ Michael J. Vondenstein
                                                           MICHAEL J. VONDENSTEIN




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